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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,

               Plaintiff,

        v.                                         Case No. 1:20-cv-00037-HAB-SLC

BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH
AMERICA INC.,

               Defendants.

  INDEX OF EXHIBITS TO DECLARATION OF RICK HARNISH IN SUPPORT OF
 DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO LIGTEL’S MOTION
                   FOR A PRELIMINARY INJUNCTION

        Defendants, by counsel and through undersigned counsel, respectfully submit this Index

of Documents to the Declaration of Rick Harnish in Support of Defendant’s Opposition to

LigTel’s Motion for a Preliminary Injunction.



 Exhibit                                        Description

             Email from Rick Harnish to Ronald Mao and Bo Wei on July 29, 2019 regarding
    1
             LigTel Meeting Minutes.

             Email from Bo Wei to Tom Goode, Natalie McNamer, and Steve Barclay on
    2        September 12, 2019, regarding Baicells’ plan on PLMN Migration, with Baicells
             PLMN Migration Plan PowerPoint attached.

    3        IOC Meeting Agenda for September 20, 2019.

             Email from Drew Greco to IOC Participants on September 20, 2019 regarding IOC
    4
             Action items.

             Email from Rick Harnish to Drew Greco, Tom Goode, and Andy Yang on
    5        December 20, 2019, regarding Baicells Migration Plan Update, with Baicells
             PLMN Migration Plan Update PowerPoint attached.
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 Exhibit                                      Description

             Email exchange between Rick Harnish, Drew Greco, and Tom Goode on
    6        February 20, 2020, regarding the Baicells Migration Plan Update, with
             Baicells PLMN Migration Update PowerPoint attached.

             Email exchange between Rick Harnish, Drew Greco, and Tom Goode on
    7        March 18, 2020, regarding the Baicells Migration Plan Update, with Baicells
             PLMN Migration Updated PowerPoint attached.

             Screenshot of January 29, 2020 announcement by Jesse Raasch in Baicells
    8
             Support Forum regarding the release of new eNB software.

             Baicells marketing email (BaiWeekly Update) for the week of February 17,
    9
             2020 announcing update of CloudCore PLMN to 314030.

             Screenshot of March 18, 2020 announcement in Baicells Community Forum
    10       by Jesse Raasch regarding new eNB software release and updated of PLMN
             to 314030.

             Screenshot of March 18, 2020 announcement in Baicells Community Forum
    11
             by Rick Harnish regarding the retirement of the original PLMN.


                                            Respectfully submitted,

                                            ICE MILLER LLP


                                            /s/ Adam Arceneaux
                                            Adam Arceneaux, Attorney No. 17219-49
                                            Eric J. McKeown, Attorney No. 27597-49
                                            Jessa DeGroote, Attorney No. 358487-49

                                            Attorneys for Defendants, Baicells Technologies
                                            Inc. and Baicells Technologies North America,
                                            Inc.

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